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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             ) Crim. Action No. 19-0018 (ABJ)
                                     )
ROGER J. STONE, JR.,                 )      *** SEALED ***
                                    )
                  Defendant.        )
____________________________________)

                                 MEMORANDUM OPINION

       Defendant Roger J. Stone has filed a motion seeking an extension of the date he must
surrender to the Bureau of Prisons (“BOP”) to begin serving his sentence. Unopposed Mot. to
Extend Surrender Date [Dkt. # 381] (“Def.’s Mot.”).
       On November 15, 2019, Stone was convicted of obstructing a Congressional proceeding,
threatening a witness, and five counts of lying to Congress. See Verdict Form [Dkt. # 260]. On
February 20, 2020, the Court sentenced him to a term of forty months of incarceration, and it
ordered that he must self-surrender when notified, but no earlier than fourteen days after the
Court ruled on the then-pending motion for new trial.        Judgment [Dkt. # 328] at 2.      The
defendant has since been directed to report on June 30, 2020.
       A week before his designated report date, defendant filed the instant motion asking the
Court to extend his voluntary surrender date to September 3, 2020 in recognition of “his
heightened risk of serious medical consequences from exposure to the COVID-19 virus in the
close confines of a BOP facility.” Def.’s Mot. at 1. He also pointed to memoranda from the
Attorney General endorsing the increased use of home confinement during the COVID-19
pandemic.   Id. at 2, citing Memorandum from the Attorney General to Director of BOP,
“Prioritization of Home Confinement as Appropriate in Response to COVID-19 Pandemic”
(March 26, 2020) (“Mar. 26, 2020 AG Memo. to Dir. of BOP”); Memorandum from the
Attorney General to Director of BOP, “Increasing Use of Home Confinement at Institutions
Most Affected by COVID-19” (April 3, 2020).
       Defendant asserts that he would face “possibly deadly risk . . . in the close confines of a
Bureau of Prisons facility,” Def.’s Mot. at 1, citing Revised Final Presentence Investigation
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Report [Dkt. # 327] ¶¶ 103–04 (Sealed), and he has provided the Court with a letter from his
treating physician. Physician Letter [Dkt. # 383] (Sealed). There is a considerable body of
public information concerning the undeniable risk of contamination in prison settings in general,
and it is essential to treat this information seriously. However, the defendant does not point to
anything other than his doctor’s “[r]easonabl[e] speculation” to support the conclusion that he is
particularly vulnerable to infection or complications from infection for reasons other than his
age. Id.
       The defense represented in its pleading that the United States did not oppose the motion.
       On June 23, 2020, the Court issued a minute order asking the government to set forth its
position in writing. Min. Order (Jun. 23, 2020). The government informed the Court that its
decision not to oppose the motion was driven solely by guidance from the Department of Justice
and the Executive Office of United States Attorneys that “U.S. Attorney’s Offices should not
object to a defendant’s request to extend a voluntary surrender date for up to 60 days, even at this
stage of the pandemic, unless the defendant poses an immediate public safety or flight risk.”
Gov’t Resp. to Court’s June 23, 2020 Min. Order [Dkt. # 385] (“Gov’t Resp.”) at 4, citing Mar.
26, 2020 AG Memo. to Dir. of BOP. According to the government, “[t]he directive applies to
defendants whether they pled guilty or were found guilty after a trial, and without respect to age,
health, or other COVID-19 risk factors.” Id. The government further explained:
               This guidance stems from the Attorney General’s March 26, 2020
               Memorandum for Director of Bureau of Prisons on “Prioritization
               of Home Confinement As Appropriate in Response to COVID-19
               Pandemic,” which directed BOP to utilize home confinement
               “where appropriate, to protect the health and safety of BOP
               personnel and the people in [BOP] custody.” Available at
               https://www.justice.gov/file/ 1262731/download (last viewed June
               25, 2020).
Id.
       This is a salutary policy, and judges and defendants in this courthouse and others will
welcome its continued evenhanded application.
       The Court notes, though, that in its submission, the government also points out that there
are currently no COVID-19 cases at the facility to which defendant has been designated. Gov’t




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Resp. at 3, n.1.1 This is a factor the government has relied upon in other pleadings filed with this
Court as a reason to oppose motions for compassionate release. See, e.g., United States v.
Mahone, 17-cr-236, Gov’t Opp. to Def.’s Mot. for Compassionate Release [Dkt. # 57] at 18. In
another opposition that remains sealed to protect private medical information, the government
similarly emphasized the absence of infection in a separate facility, and it asserted that the
primary medical condition at issue here – even in an older defendant – did not warrant release
under the Centers for Disease Control guidance since it was “in check.” See United States v.
[REDACTED], 18-cr-[REDACTED][Dkt. REDACTED] (Sealed) at 11 (“For the most part, the
government appreciates and does not dispute the underlying health concerns presented by the
defendant. But such conditions are worth assessing in nuance.”); id. 12–13. Here, defendant’s
condition appears to be – as it has been for some time – medically controlled.
       At the end of the day, the guiding principle must be that Mr. Stone is entitled to no more
and no less consideration than any other similarly situated convicted felon.
       The difficulty in this case is figuring out who is truly “similarly situated.” Notably here,
the record reflects that the defendant has already received a reprieve of the recommended length
through the good graces of the Bureau of Prisons, an agency within the Department of Justice.
Just one day after the Court ruled on the motion for new trial, in response to a request from the
defense, based on the same concerns that are raised here, the BOP accorded the defendant an
additional sixty days to surrender beyond the fourteen that were required by the Judgment and
Commitment Order. See Ex. 1 to Gov’t Resp. [Dkt. # 385-1]; see also Def.’s Resp. to Court’s
Order dated June 25, 2020 [Dkt. # 386]. And the Bureau itself is not of the view that another
extension on this basis is warranted. See Def.’s Resp. to Court’s Order dated June 25, 2020 at 2
(“On or about June 10, 2020, government counsel informed undersigned counsel that he had


1       In his pleading, the defendant stated, “[w]hile the BOP website currently does not show
any inmates with the COVID-19 virus at FCI Jesup, it reports that there are 25 tests pending.
https://www.bop.gov/coronavirus/. Given that the BOP does not routinely test inmates,
combined with the relatively high positivity results in BOP facilities, the pending tests do not
bode well.” Def. Mot. at 3–4 (footnotes omitted). But this was pure speculation. The
government explains, “[a]ccording to BOP, all 25 tests referenced in the motion were
administered because those inmates were due to be transferred or released to the community.
Under BOP protocols, quarantine and testing is required before inmates leave the facility. All 25
tests came back negative. As of the close of business yesterday, June 24, 2020 – the most recent
date for which data are available to report today – there have been no confirmed COVID-19
cases among either staff or inmates at FCI Jesup.” Gov’t Resp. at 3, n.1.

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been in contact with BOP and had been informed that BOP was no longer extending surrender
dates based on COVID-19 and that, therefore, BOP would not be changing Stone’s June 30,
2020 surrender date.”).
       Moreover, while defendant correctly observes that other courts in this district have
granted extensions in United States v. Benjamin, 18-cr-0121, and United States v. Gana, 19-cr-
305, neither of those defendants was convicted of threatening anyone, and there is no indication
that either failed to abide by conditions of release at any time. By contrast, Mr. Stone was
convicted of threatening a witness, and throughout the course of these criminal proceedings, the
Court has been forced to address his repeated attempts to intimidate, and to stoke potentially
violent sentiment against, an array of participants in the case, including individuals involved in
the investigation, the jurors, and the Court. See Gov’t Resp. at 5 (recounting defendant’s
“attempt to incite violence upon a federal judge, . . . his abuse of social media and other media
outlets to intimidate individuals and witnesses involved in this case, . . . his patently false
statements at the February 21, 2019, show cause hearing, . . . and . . . his now final conviction for
witness tampering, including threats of physical harm to a witness”).
       It is true, as the government points out, that at the time of sentencing, the Court was
aware of these circumstances, and it permitted the defendant to voluntarily surrender over the
prosecutor’s objection. But as of February 20, the defendant had not yet been designated to an
appropriate minimum-security federal facility, and remanding him at that time would have
required his incarceration at a local jail approximately 1,000 miles from his home and family
until the designation was accomplished. Also, there was already a motion for new trial pending,
flight was not a factor, and it is fair to say that no one was contemplating that approving
voluntary surrender could lead to a possible six-month delay in reporting.
       For all of these reasons, the Court will grant the motion in part, and it is hereby
ORDERED that the defendant’s date to surrender to the Bureau of Prisons will be extended for
another fourteen days, until July 14, 2020. This affords the defendant seventy-five days beyond
his original report date.    It is FURTHER ORDERED that during that time, defendant’s
conditions of release will be modified to include the condition of home confinement in
accordance with the Attorney General’s memorandum and the strong medical recommendation
submitted to the Court by the defense that he “maintain strict quarantine conditions.” Letter



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at 1. 2 Pretrial Services may monitor his compliance through any appropriate electronic or non-
electronic means selected in its discretion in accordance with its current practices, which may
include such methods as SmartLINK or Voice Recognition. This will address the defendant’s
stated medical concerns during the current increase of reported cases in Florida, and Broward
County in particular, and it will respect and protect the health of other inmates who share
defendant’s anxiety over the potential introduction and spread of the virus at this now-unaffected
facility.
        SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge


DATE: June 26, 2020




2       The letter from defendant’s internist stated:
                I highly recommend that he maintain strict quarantine conditions. . . . . He
                should not be in any situations that would expose him to the SARS-
                COV-2 virus. He needs to maintain at least 6 feet distance from people.
                He should avoid closed quarters with many people. He must completely
                avoid exposure to people with high rates of infections.
Letter at 1. Defendant’s response to the Court’s inquiry concerning his personal preventive
practices and avoidance of public gatherings in accordance with these directives was vague,
carefully parsed, and not reassuring. Def.’s Resp. to Court’s Sealed Order Dated June 24, 2020
[Dkt. # 387] (Sealed) at 1 (Stone has spent “the overwhelming majority” of his time at his home;
he wears a mask “in the appropriate situations;” he avoids closed quarters with “numerous”
people for “extended” durations; he has “on at least one occasion” attended a gathering at which
more than ten people were present; and he has been present in public places such as restaurants
“as local regulations have permitted.”).

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